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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA



V.                                             CRIMINAL CASE NO.3:19-CR-00060(REP)

ANDRES COLAJ PEREZ,

                       Defendant.



                                             ORDER


        This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance ofthe Defendant's plea of guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent ofthe Defendant and counsel. It appearing

that the Magistrate Judge made fiill inquiry and findings pursuant to Rule 11; that the Defendant

was given notice ofthe right to file specific objections to the report and recommendation that has

been submitted as a result ofthe proceeding; and it fiirther appearing that no objection has been

asserted within the prescribed time period, it is hereby

        ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count ONE(1)of the Indictment.



                                                                        /s/
                                                      Robert E. Payne
                                                      Senior United States District Judge
Date: November ^ ,2020
Richmond, Virginia
